Case 1:07-cr-20398-BB Document 378 Entered on FLSD Docket 08/25/2008 Page 1 of 1


                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 07-20398-CR-UNGARO

 UNITED STATES OF AMERICA,

 v.

 MABEL DIAZ,

             Defendant.
 ______________________________/

                  ORDER AFFIRMING MAGISTRATE JUDGE’S REPORT

        THIS CAUSE is before the Court on Defendant’s Suggestion of Incompetency. (D.E.

 254.) The matter was referred to Magistrate Judge John O’Sullivan, who on June 30, 2008

 issued a Report recommending that the Defendant be found competent to stand trial. (D.E. 351.)

 The matter is ripe for disposition and no objections to the Report have been filed.

        Accordingly, having conducted a de novo review of the record and being otherwise fully

 advised in the premises, it is hereby

        ORDERED AND ADJUDGED that the Magistrate Judge’s Report is RATIFIED,

 AFFIRMED AND ADOPTED.

        DONE AND ORDERED in Chambers at Miami, Florida, this 15th day of August, 2008.


                                                      _______________________________
                                                      URSULA UNGARO
                                                      UNITED STATES DISTRICT JUDGE

 copies provided:
 counsel of record
